              Case 21-40361                  Doc 16           Filed 08/03/21 Entered 08/03/21 15:16:48               Desc Main
                                                                Document     Page 1 of 2

                                                    United States Bankruptcy Court
                                                                     District of Massachusetts


In re:        Paul M Dorazio, Sr.                                                                    Case No.:   21-40361
              AKA Paul M Dorazio                                                                     Chapter:    7
              Debtor

           82 Highland Street
Address: Milford, MA 01757
Employer's Tax Identification (EIN) No(s).:
Last four digits of Social Security No(s). : xxx-xx-0069




                                                                     NOTICE OF DEATH

Notice is hereby given that:

1.         Debtor died on June 14, 2021.

2.         Debtor's resided at 82 Highland Street, Milford, MA 01757 at the time of his death.

3.     To the best of the undersigned's knowledge, no estate has been filed in the Worcester Probate and
Family Court or any other court.

4.         Paul M. Dorazio, Jr., 1-352-246-8490, a resident of Florida, reported the death to the undersigned.




Date August 3, 2021                                                   Signature   /s/ Thomas J Baker
                                                                      Name        Thomas J Baker 566749 MA
                                                                      Address     Thomas J Baker BBO 566749
                                                                                  86 Church Street
                                                                                  Whitinsville, MA 01588




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              Case 21-40361                  Doc 16           Filed 08/03/21 Entered 08/03/21 15:16:48   Desc Main
                                                                Document     Page 2 of 2

                                                               CERTIFICATE OF SERVICE

     I, Thomas J. Baker, certify that on August 3, 2021 a true copy of the within notice was served via ECF on
the Chapter 7 Trustee, the Assistant U.S. Trustee and by first class mail, postage prepaid on the following:

Bank of America
PO Box 982238
El Paso, TX 79998

Bank of America, N.A.
4909 Savarese Circle
FL1-908-01-47
Tampa, FL 33634


                                                                              /s/Thomas J. Baker
                                                                              Thomas J. Baker




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